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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION

BRADLEY CHANCE CADENHEAD, §
TDCJ-CID NO. 02449471 §
Petitioner §

V. § No. 4:25-cv-184
§
ERIC GUERRERO, §
DIRECTOR TDCJ-CID §
Respondent §

BRIEF IN SUPPORT OF PETITION FOR
WRIT OF HABEAS CORPUS (28 U.S.C. §2254)

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW Petitioner Bradley Chance Cadenhead, by and through his
undersigned counsel, and files this brief in support of his Petition for Writ of Habeas
Corpus pursuant to 28 U.S.C. §2254.

That an accused is guaranteed the right to effective assistance of counsel is
axiomatic and the law of the land. Here, Petitioner was merely 16-years-old at the
time of the alleged offense, and the gravamen of this petition pertains to how a
forensic psychologist could have mitigated the offense conduct. Ultimately, the trial
court sentenced Petitioner in a draconian manner: three stacked sentences of 20

years’ confinement, followed by another 20-year sentence, and then 10 years’
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probation immediately following Petitioner’s eventual release from incarceration.
SHCR 7-10.!

Because Petitioner’s federal constitutional right to effective assistance of
counsel was violated, he now asks this Court to grant relief. In support of his Petition
for Writ of Habeas Corpus, Petitioner would show this Court the following:

PROCEDURAL BACKGROUND

On September 22, 2022, in cause number 22CRDC-00016 in the 266" Judicial
District Court of Erath County, Texas, Petitioner was indicted for nine counts of
possession with intent to promote visual material that depicted a child younger than
18 years of age engaging in sexual conduct (second-degree felony). SHCR 4-7.

On March 27, 2023, pursuant to the advice of Trial Counsel Lukas Lawrence
(hereafter, “Trial Counsel”), Petitioner waived jury trial and pleaded guilty to all
nine counts of the indictment without a plea agreement with the State. CR 69-74; 2
RR 6-8. Following a sentencing hearing on May 16, 2023, the trial court sentenced
Petitioner to 20 years of confinement on each of the first eight counts and 10 years’
probation on the ninth count. The sentences on the first three counts were stacked,

and then the sentences were ordered to run concurrently on the fourth through eighth

| For purposes of this brief, the state habeas corpus record is abbreviated SHCR, the clerk’s record
from the direct appeal is abbreviated CR, and the reporter’s record from the plea and sentencing
proceedings is labeled RR, with the volume number preceding “RR” and the page number

following the “RR” abbreviation.
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counts, with those sentences to begin after Petitioner was released from confinement
on the third count. The term of probation would begin after Petitioner is released
from confinement on the fourth through eight counts. CR 104-06; SHCR 7-10.

On November 7, 2024, Petitioner filed an application for writ of habeas corpus
in state court, alleging one ground of ineffective assistance of trial counsel. SHCR
28. The State filed its Answer/Reply on December 6, 2024, and then the trial court
signed the State’s proposed order recommending that relief be denied on December
9, 2024. SHCR 100, 136. Petitioner then filed a Motion to Reconsider Denial of Writ
Application and Request for Entry of Order Designating Issues on December 10,
2024. SHCR 139. The trial court denied this motion on December 18, 2024. SHCR
149. Petitioner then filed objections to the trial court’s findings of fact and
recommendation on January 7, 2025. On February 5, 2025, the Texas Court of
Criminal Appeals denied relief without written order.

STATEMENT OF FACTS

At the sentencing hearing, Jeanine Parmentier, a crime scene evidence
technician for the Stephenville Police Department, testified that she processed a
search warrant for electronic evidence on August 25, 2021, at Petitioner’s residence.
3 RR 10. Parmentier collected two laptop computers, three cell phones, and a

modem. 3 RR 10-11. She then mailed the items to DPS for analysis. 3 RR 13-14.
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Kathleen Hickey testified that she is a computer investigations specialist for
DPS’ crime laboratory. 3 RR 15-16. During her forensic investigation of the items
submitted to DPS, Hickey found videos, images, and files relating to possible child
pornography. 3 RR 21. She then submitted a copy of the hard drive to the
Stephenville Police Department. 3 RR 23.

Jeremy Lanier testified that he is a lieutenant for Stephenville Police
Department, and he investigates electronic crimes. 3 RR 25. Lanier testified that in
June 2021, his office received multiple cyber-tips that indicated child pornography
was being disseminated from an IP address registered to Petitioner’s mother. 3 RR
26-27. The cyber-tip also indicated that the suspect’s first name was “Brad,” and the
manager of the apartment complex where Petitioner’s mother lived stated that a
young man named “Bradley” lived at the apartment with her. 3 RR 27. Lanier
testified that he contacted Petitioner’s mother during the execution of the search
warrant, and she indicated that the laptop computer and cell phone belonged to
Petitioner. 3 RR 27-28.

Regarding the content of the materials, Lanier testified that in addition to child
pornography, there were a significant number of additional images depicting
children being harmed, deceased children, bodies manipulated with significant
wounds, and images of a human body with the username of Petitioner’s internet

group carved into their chest. 3 RR 29. In addition to detailing the grotesque nature
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of the images, Lanier testified that Petitioner was found to have “cyberbullied”
members of his group to manipulate them into providing pornographic files and
commit self-harm. 3 RR 38-39.

On cross-examination, Lanier testified that Petitioner was only 15-years-old
when these incidents occurred, and he was 17-years-old at the time of the sentencing
hearing. 3 RR 40. Lanier testified that Petitioner had not committed any further
cyber-related offenses since his arrest and transfer to adult court. 3 RR 41.

Bobby Stidham, the director of the community supervision and corrections
department, testified that he conducted a presentence investigation in this case. 3 RR
42. Based on his discussions with Petitioner, Stidham testified that Petitioner
obtained the child pornography because it interested a group of individuals on
Petitioner’s internet server, and Petitioner described himself as the leader of that
group. 3 RR 44. On cross-examination, Stidham testified that Petitioner did not
violate any of the conditions of his bond, including a condition that prohibited him
from accessing the internet. Further, Stidham testified that Petitioner was in
treatment for his mental-health issues. 3 RR 47-49.

Sarah Trevino testified that she is a behavior health therapist at Excel Health,
and she was only licensed as an LPCA (licensed professional counselor associate) at
the time of the hearing. 3 RR 50. Trevino testified that an LPCA means that she

works under the supervision of another individual, and she had held this license for
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22 months at the time of the hearing. 3 RR 50-51. According to Trevino, she began
seeing Petitioner in a therapeutic capacity on March 8, 2022. 3 RR 50-51. Trevino
testified that Petitioner suffers from behavioral dysregulation and bipolar disorder.
3 RR 52. Trevino further testified that Petitioner has received cognitive behavioral
therapy, along with some dialectical behavioral therapy, and some progress was
being made. 3 RR 52-53. Moreover, Trevino testified that Petitioner’s ability to
function in society has improved over the last year, and he is not an imminent risk
to others or himself. 3 RR 53. Regarding Petitioner’s brain development, Trevino
testified that a human brain is still developing from 15 to 17 years old, as both self-
awareness and decision-making processes improve with age. 3 RR 55. In fact, the
brain continues to mature until age 25. 3 RR 55.

On cross-examination, Trevino testified that Petitioner does not have
difficulty controlling his impulses, but they are a constant battle within his mind. 3
RR 56. Trevino also admitted that she was not aware of the extent of the depravity
of the pornographic images in this case. 3 RR 58. However, she adhered to her
testimony that Petitioner is not an imminent risk to himself or others. 3 RR 60.

STANDARD OF REVIEW

Under 28 U.S.C. §2254(d), a federal court may not grant habeas relief unless
the state court adjudication (1) was contrary to federal law then clearly established

in the holdings of the Supreme Court; (2) involved an unreasonable application of
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clearly-established Supreme Court precedent; or (3) was based on an unreasonable
determination of the facts in light of the record before the state court. Harrington v.
Richter, 131 S. Ct. 770, 785 (2011). Review of a state court’s decision “is limited to
the record that was before the state court that adjudicated the claim on the merits.”
Cullen v. Pinholster, 131 S.Ct. 1388, 1398-99 (2011).

Under 28 U.S.C. §2254(d)(1), a state court’s decision is “contrary to ... clearly
established Federal law,” as determined by the U.S. Supreme Court, “if the state
court applies a rule different from the governing law set forth in our cases, or if it
decides a case differently than we have done on a set of materially indistinguishable
facts.” Bell v. Cone, 535 U.S. 685, 694, 122 S.Ct. 1843, 152 L.Ed.2d 914 (2002). A
state court’s decision involves an unreasonable application of clearly established
federal law as determined by the U.S. Supreme Court, within the meaning of
§2254(d)(1), “if the state court identifies the correct governing legal rule ... but
unreasonably applies it to the facts” or “if the state court either unreasonably extends
a legal principle from our precedent to a new context where it should not apply or
unreasonably refuses to extend that principle to a new context where it should
apply.” Williams v. Taylor, 529 U.S. 362, 407 (2000). In determining whether a state
court made an unreasonable application, a federal court asks whether it is possible
that fair-minded jurists could disagree about the correctness of the state court’s

decision. Richter, 131 S.Ct. at 786.
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28 U.S.C. §2254(d)(2) commands deference to the state habeas court’s factual
determinations by precluding relief on any claim that was adjudicated on the merits
unless the state-court decision was “based on an unreasonable determination of the
facts in light of the evidence presented in the State court.” Such determinations are
presumed to be correct, although a petitioner can rebut this presumption with clear
and convincing evidence. 28 U.S.C. §2254(e)(1).

RELEVANT LAW REGARDING INEFFECTIVE ASSISTANCE OF COUNSEL

The United States Supreme Court has articulated a two-pronged test for
assessing whether a defendant’s counsel rendered ineffective assistance. See
Strickland v. Washington, 466 U.S. 668, 687 (1984). First, a reviewing court assesses
whether counsel’s performance was “deficient.” Strickland, 466 U.S. at 687. To
establish that counsel was deficient, the defendant must allege specific instances
where his counsel failed to meet a reasonable professional standard of competency.
Id. A defendant must show by a preponderance of the evidence that counsel was
deficient. /d.

The second prong requires a showing that counsel’s deficiency actually
prejudiced the defendant. Jd. Prejudice results when “counsel’s errors were so
serious as to deprive the defendant of a fair trial, a trial whose result is reliable.” Id.
The Supreme Court further held: “The defendant must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding
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would have been different. A reasonable probability is a probability sufficient to
undermine confidence in the outcome.” /d., at 694.

While a defendant does not have to show that his counsel’s deficiency “more
likely than not” affected the outcome, he must demonstrate from concrete facts in
the record that his counsel’s deficiency had more than “some conceivable effect on
the outcome of the proceeding.” /d., at 693.

The test for determining the validity of a guilty plea is “whether the plea
represents a voluntary and intelligent choice among the alternative courses of action
open to the defendant.” North Carolina v. Alford, 400 U.S. 25, 31 (1970). Where, as
here, a defendant is represented by counsel during the plea process and enters his
plea upon the advice of counsel, the voluntariness of the plea depends on whether
counsel’s advice “was within the range of competence demanded of attorneys in
criminal cases.” McMann v. Richardson, 397 U.S. 759, 771 (1970).

When the challenge to the guilty plea is based on ineffective assistance of
counsel, courts apply the two-pronged Strickland test. See Hill v. Lockhart, 474 U.S.
52, 58 (1985); Strickland v. Washington, 466 U.S. 668, 687-94 (1984). A defendant
must show: (1) that counsel’s performance was deficient, and (2) “that there is a
‘reasonable probability’ — one sufficient to undermine confidence in the result —

that the outcome would have been different but for his counsel’s deficient
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performance.” Strickland, 466 U.S. at 694. The defendant has the burden to prove
ineffective assistance of counsel by a preponderance of the evidence. /d., at 687.

In the context of guilty pleas, the first half of the Strickland test is applied in
the same manner as in other contexts. See Hill, 474 U.S. at 58. In other words, the
defendant must show that counsel’s advice “fell below an objective standard of
reasonableness.” Strickland, 466 U.S. at 687-88. The “prejudice” requirement, on
the other hand, is applied somewhat differently. The focus of the prejudice inquiry
is “on whether counsel’s constitutionally ineffective performance affected the
outcome of the plea process.” Hill, 474 U.S. at 59. In other words, in order to satisfy
the “prejudice” requirement, a defendant must show that there is a reasonable
probability that, but for counsel’s errors, they would not have pleaded guilty and
would have insisted on going to trial. /d. “[B]ecause a guilty plea is an admission of

all the elements of a formal criminal charge, it cannot be truly voluntary unless the

defendant possesses an understanding of the law in relation to the facts.” McCarthy

v. United States, 394 U.S. 459, 466 (1969). The constitutional validity of a guilty
plea made upon the advice of counsel depends on whether counsel’s advice “was
within the range of competence demanded of attorneys in criminal cases.”
Richardson, 397 U.S. at 771. Thus, a defendant’s election to plead guilty or nolo

contendere when based upon erroneous advice of counsel is not done voluntarily

and knowingly.
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GROUND FOR HABEAS CORPUS RELIEF

Petitioner’s trial counsel rendered ineffective assistance when he advised
Petitioner to plead guilty to nine counts of possession with intent to promote
child pornography and then conducted a sentencing hearing without
investigating expert assistance in forensic psychology to evaluate Petitioner and
offer an expert opinion to the trial court regarding his prospects for
rehabilitation and recidivism.

Argument and Authorities

A. Trial Counsel rendered ineffective assistance.

1. Deficient Performance

Petitioner was entitled to an advocate who would investigate the law and facts
relating to his case. Bouchillon v. Collins, 907 F. 2d 589, 597 (Sth Cir. 1990).
Counsel has an “absolute duty” to perform a thorough investigation. Brown v.
Sternes, 304 F.3d 677, 693-698 (7th Cir. 2002). This requirement includes an
obligation to seek out expert assistance where there is a crucial issue in a case that
necessitates such assistance. See Richey v Bradshaw, 498 F.3d 344, 353 (6" Cir.
2007).

There is no strategic decision with respect to defense counsel’s sentencing
strategy where counsel chooses to abandon their investigation at an unreasonable
juncture. See Wiggins v. Smith, 539 U.S. 510, 527-28 (2003). “In investigating
potential mitigating evidence, counsel must either (1) undertake a reasonable

investigation or (2) make an informed strategic decision that investigation is

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unnecessary.” Charles v. Stephens, 736 F.3d 380, 389 (5th Cir. 2013) (per curiam).
“[U]nder a Strickland analysis, trial counsel must not ignore pertinent avenues of
investigation, or even a single, particularly promising investigation lead.” /d. at 390
(internal quotation marks and citations omitted).

Here, if Trial Counsel had retained an expert in forensic psychology, he would
have discovered the root causes of Petitioner’s mental-health issues, which led to the
conduct that the trial found to so abhorrent at sentencing. Moreover, a forensic
psychologist would have been able to opine about Petitioner’s chances of
rehabilitation in a manner that a relatively inexperienced counselor like Sarah
Trevino was unable to do. For example, Ms. Trevino was only a licensed
professional counselor associate (LPCA), which means she worked under the
supervision of another individual, and she had only held that entry-level license for
22 months. 3 RR 50-51.

According to Petitioner’s sworn statement, Trial Counsel failed to discuss the
possibility of hiring a forensic psychologist to evaluate him and offer expert
testimony at the sentencing hearing. See SHCR 72. Rather than discuss the
possibility of obtaining persuasive, scientific evidence, Trial Counsel advised
Petitioner to express his remorse and throw himself at the trial court’s mercy. See id.
Although Trial Counsel states in his affidavit that he and Petitioner discussed the

possibility of hiring an expert, Trial Counsel fails to state that he specifically
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discussed the importance of hiring a forensic psychologist for mitigation purposes.
SHCR 120. Moreover, Trial Counsel’s affidavit demonstrates that he incorrectly
believed that Petitioner’s therapist, Sarah Trevino, qualified as an expert despite her
having no expertise in forensic psychology and, thus, being a lay witness who was
limited to testifying about her observations of Petitioner at the therapy sessions. See
TEX. R. EviD. 701; see also SHCR 120. By Trevino’s own admission, she was not
aware of any facts about Petitioner or the case beyond what they discussed in their
therapy sessions. 3 RR 58.

For the state habeas corpus writ application, Petitioner retained Marisa Mauro,
an experienced forensic psychologist. Her forensic report and CV were part of the
record/evidence in the state court proceedings. See SHCR 74-87 (forensic report);
see also SHCR 89-98 (Dr. Mauro’s CV).

Here, Trial Counsel had a reason to retain an expert in forensic psychology to
evaluate Petitioner and educate the trial court regarding his rehabilitative prospects,
yet he failed to fulfill his duty to do so. This failure to conduct a diligent investigation
constitutes a deficient performance, especially in light of the fact that Trial Counsel’s
only mitigating evidence at the punishment hearing came from the testimony of a

novice counselor (Trevino) who did not have any training in either forensic
psychology or risk assessments.

2. Prejudice
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The prejudice prong of an ineffective assistance of counsel claim is analyzed
under the “totality of the representation” standard. See Strickland, 466 U.S. at 690.

Here, forensic psychologist Dr. Marisa Mauro reviewed the facts of the
underlying criminal case and interviewed Petitioner. Her report demonstrates that
Petitioner would have had a compelling argument regarding his rehabilitative
prospects and low probability of recidivism, which would have influenced the trial
court’s decision on punishment. See SHCR 74-87 (forensic report).

First, Dr. Mauro reviewed Petitioner’s “Family of Origin, Childhood
Behavior, and Childhood Abuse.” SHCR 78-79. This section of the report revealed
that Petitioner was a victim of childhood bullying at an early age, and then he
witnessed his mother being verbally and physically abused by a boyfriend after his
parents divorced. SHCR 78. Further, Petitioner reported that his mother abused
alcohol and drugs in the home. /d. Regarding Petitioner’s relationship with his
father, it was a tumultuous one, as he recalled regularly spitting on his father during
arguments when he was | 1- or 12-years-old, leading to his father kicking him out of
the house. SHCR 78-79.

Significantly, Petitioner revealed to Dr. Mauro that he was also the victim of
childhood abuse (sexual, mental, and physical) at the hands of his best friend, Ethan.

SHCR 79. Ethan began showing Petitioner pornography when they were just 7-

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years-old. Moreover, Ethan touched and grabbed Petitioner’s penis, along with
regularly starting physical fights with him. /d.

In the next section of the report titled “Education and In-School/Peer
Behavior,” Dr. Mauro discusses how Petitioner was ostracized by his middle-school
peers; he and Ethan then began engaging in criminal mischief (e.g., breaking
windows or throwing paint on people’s houses). /d. Petitioner also was sent to an
alternative school in the 8"" grade for 30 days for yelling at a teacher who he thought
was laughing at him. Jd. Once Petitioner began high school, he only attended for two
weeks because he thought “everyone was looking at me.” /d. Petitioner felt
“embarrassed and depressed” at this point in his life, and he was experiencing social
anxiety, which prevented him from speaking in school and caused him nausea. Id.
After dropping out of school, Petitioner isolated himself at his mother’s apartment

for year. Jd. Dr. Mauro further describes how important others’ opinions were to

Petitioner’s sense of self-worth:

Bradley remembered that the opinions of others were critical to him,
and he wanted to be popular at school and with peers. He said he
equated being popular with acting out, doing drugs, and drinking. He
thought he would be respected if he demonstrated not caring about
anything and a willingness to hurt others. Bradley remembered
developing this belief system around 10 after another student showed
him a video of a man being tortured. At the time, Bradley recalled
thinking it was horrible. When he was sent to juvenile, another boy
talked with him about a community referred to as “The Gore,” which
focuses on violent videos. Bradley was released from juvenile and

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connected with that community by watching the content. He grew to
believe that making violent videos was a good way to get attention.

Bradley said he never got the attention he wanted from other students
and felt like an outcast. He recalled that the popular kids played sports,
and he tried but quit after one season. He said he was bullied by popular
kids and said they would do things to him like “licking a French fry and
giving it to [him].” He said they would try to beat him up. Bradley
likened his experience at school to a television show, 13 Reasons Why.

SHCR 79-80

In the next section of her report, Dr. Mauro details Petitioner’s “Mental Health
History.” To summarize, Petitioner’s history included four psychiatric
hospitalizations, beginning at age 11 or 12. Jd, at 80. Dr. Mauro’s report then

describes how Petitioner began self-harming at age 12:

Bradley said he started self-harming around 12 because he saw
somebody do it at school and wanted to try. He found the behavior
“addicting.” He said he viewed himself as a horrible person and thought
he was helping others by hurting himself. He cut, burned, and hit
himself. While this made him feel worthless, Bradley said he felt calmer
because it affirmed his concerns. He continued the behavior into prison
and said he stopped five months before the interview. He denied that it
was ever sexually arousing to inflict harm or pain on himself.

Bradley said that he also has a history of problems with disordered
eating and purging that began around the time he started self-harming.
When he was in school, Bradley sometimes made himself vomit to stay
home. He said he also wanted to be “as thin as possible,” explaining
that the popular kids were thin, and he just wanted to continue to try to
lose weight. Bradley denied that he was ever overweight as a student,
however. He said he entered prison around 220 pounds and weighed
about 150 at the interview.

SHCR 81-82
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The subsequent two sections, titled “Other Childhood Behavior Problems”
and “Substance Abuse History” further detail Petitioner’s troubled upbringing.
SHCR 82.

Next, Dr. Mauro’s report details Petitioner’s recollection of his offense

conduct:

When asked to describe the events leading to his controlling case,
Bradley said that it started when he was 10 and saw a video of a man
being hit with a hammer and then stabbed 15 times in the face with a
screwdriver. The video was “Run the Gauntlet,” and his same-aged
friend, Hank, told him to watch it. Bradley said it made him sick to his
stomach, and he telephoned his father crying. He recalled experiencing
an adrenaline-like rush from the shock. After thinking later on about
the video, Bradley thought it must not be that bad and rewatched it. His
response was less intense, and he started entering related group chats
where he encountered people telling others to cut themselves. Bradley
said he stopped after going to juvenile and recognized that he felt
traumatized by the videos and chats. Bradley reengaged with the violent
video community after releasing from juvenile and talking to “Trippy”
from The Gore on Snapchat. He thinks that Trippy is near his age. They
started communicating regularly, and Trippy invited Bradley to a
server. Bradley said he did not intend to revisit violent videos but did.
He thought they were not that bad and would not impact him. He got
the idea to become more involved in that community and started his
group chat, “764,” which he explained were the first numbers in his zip

code.

Initial rules for 764 included no animal or child abuse; Bradley
explained that it is not unusual for people in these communities to post
videos of animal torture, child abuse, and abortion. At first, 764 abided
by this rule, and posted torture content was restricted to adults. This
changed after Bradley began interacting with “The Greggy Cult
group...a cult-like following of this dude. They made a group chat about
him and made it look like he’s our God. He’s just a guy they extorted.
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They made him get on camera and made him hurt himself by getting
his personal information and blackmailing him.” Bradley said he started
“extorting” members of the Greggy Cult, and around the same time, he
started “promoting” child pornography.

Bradley explained that a program called “OBS Studio” allows the user
to broadcast a video using a computer camera to another person’s
screen during video chats. He used this during video chats to expose
people in attendance to child pornography. At the time, Bradley said he
thought witnessing the members’ anger and disgust was funny. Later,
Bradley said he decided to put the child pornography videos in open
chats, and he branched out to “invade” outside groups such as celebrity
chats. Bradley commented that he targeted a celebrity group, thinking
his behavior might make the news, but it did not.

Still seeking more attention, Bradley next emulated the Greggy Cult,
which received media attention for blackmailing people to self-harm.
He remarked that he decided to “take it to a whole different level...a lot
worse.” Bradley remembered that he had a girl on a call near his age
and asked members to suggest what he should make her do. He was
told to have her cut herself; another said to make her kill a pet. Bradley
thought this would get more attention for 764, so he and the group told
her to kill her cat. She did not, but she killed her hamster, cut it into
pieces, and ate it. Bradley said he was able to get the girl to engage in
the behavior with blackmail; she had sent nude content to a male, who
sent it to Bradley. Bradley estimated that he manipulated three or four
people into doing things using his group. Regarding sharing child
pornography and child torture/abuse, Bradley said he obtained the
content from other group chats.

SHCR 82-83

Dr. Mauro’s report then summarizes Petitioner’s underlying explanations for
his behavior and activities, which obsessively occupied his time after dropping out

of high school:

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Overall, Bradley said his group was “like a cult...because they were
worshiping me. It was weird. People would get on the video call and
just start cutting themselves. Really just teens and young adults wanting
attention. They would come in and act a fool, and people would praise
that.” He said that, on average, he would have 200 people in his group
on Discord. He also had a group chat on Telegram, but the illegal
activities occurred on Discord. Bradley explained that these activities
occupied his time after dropping out of school. He said he was
“obsessed with all the attention I was getting.” Bradley remembered
that he finally felt good about himself and, eventually, superior to others
because people in The Gore talked about him and knew who he was.

SHCR 83

Next, Dr. Mauro detailed Petitioner’s current psychological status, which
encompassed normal observations. SHCR 84. Following her DSM-5 Diagnostic
Impression, Dr. Mauro made “Conclusions and Recommendations” regarding the

case, which are analogous to the expert opinion she would have provided if called
to testify at the punishment hearing:

Bradley’s case is remarkable for information that might have been
considered mitigating for purposes of assessing his punishment but was
not provided or inadequately addressed at his sentencing hearing,
namely his young age, mental health, absence of early intervention,
substance use, family implications, and early introduction to sex.
Further, a risk assessment and prognosis for treatment would have aided
the judge in assessing Bradley’s risk of committing a future offense, his
potential for violence to the community, and his likelihood of
rehabilitation, but were not conducted.

Age

Firstly, Bradley was just 15 years old at the time of the offense. While
it is true that young offenders tend to recidivate more often than older
offenders, individuals such as Bradley who have offended at a young

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age usually do not go on to offend as adults. This is because careless,
impulsive, defiant, oppositional, and asocial behavior during youth
often does not persist into adulthood. Children, teens, and young adults
are likelier than older adults to engage in immature and impulsive acts.
These actions may or may not become a regular part of their character
as they age. Indeed, there is no indication that Bradley has been charged
with or convicted of illegal acts as an adult. The sentencing hearing
testimony provides that he was not accused of another unlawful act after
age 15 and that he complied with bond conditions.

Psychological research has demonstrated that teenagers’ psychosocial
maturity is slower to develop than their cognitive capacity. One study
sponsored by the MacArthur Foundation Research Network on
Adolescent Development and Juvenile Justice found that while the
adolescent sample studied nearly reached their peak cognitive maturity
at 16 to 17 years old, the same group did not reach their peak
psychosocial maturity as measured by risk perception, sensation
seeking, impulsivity, resistance to peer influence, and future orientation

until their mid to late twenties.! This psychosocial immaturity in
children and teens may contribute to poor decision-making and
behavior that is grounds for arrest. Another study of 1,355 juvenile
offenders aged 14 to 17 convicted of felonies or serious misdemeanors

found that less than 10% continued to commit crimes into adulthood.?
The American Bar Association and the United States Supreme Court
have also recognized the mitigating impact of age due to psychosocial

immaturity factors.>

In Bradley’s case, the judge assessing punishment stated, “Starting at
15, and presenting that as a form of mitigation, carries no weight with
this court. A five-year-old or seven-year-old child already has the basic
sense of morale decency that you, sir, do not have. There is something
horribly wrong with you. Horribly.”

Mental Health

Anger, a secondary emotion, seemed to color Bradley’s youth. It is

most likely that depression and related feelings of isolation, rejection,

and worthlessness surfaced in Bradley as anger, aggression, violence,

and acting out. He did not have the necessary coping tools needed to

deal with his problems, bullying, and emotions. Bradley’s depression
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and social rejection appear to be the underlying cause of his actions
leading to his controlling case.

Bradley first experienced being admired and popular in his Internet
group, something he long sought. While the sentencing hearing
testimony from Bradley’s community supervision officer, Mr. Stidham, .
provided that Bradley’s primary motivation for possessing child
pornography was to attract and maintain- group members, Bradley’s
only defense witness, his therapist, Ms. Trevino, was not made aware
of Bradley’s specific acts leading to his criminal case before the
hearing. Ms. Trevino, therefore, did not have the opportunity to assess
his motivations for committing the acts nor any contributing
implications from Bradley’s past experiences or mental health. No
psychologist or psychiatrist testified at Bradley’s sentencing hearing.
No opinions were offered regarding his capacity to benefit from
treatments aimed at reducing his depression, anxiety, and aggressive
tendencies.

Absent and Failed Early Intervention

Related to the mental health implications in Bradley’s case, the absence
of appropriate early intervention could have been offered for migration
at sentencing. Available information suggests that confinement as a
juvenile was the primary tool used to address Bradley’s behavioral
problems. Bradley might have benefited from early childhood
interventions aimed at improving his social skills, reducing depression
and anxiety, coping with his parents’ divorce, and developing anger
management strategies. Such services were readily available through
early intervention programs, school systems, community mental health
centers, diversion programs, and private providers. There was no
testimony in Bradley’s sentencing hearing about system-wide failures
to identify his early intervention needs.

Early Sexualization

Bradley reported to this examiner that he feels a same-aged friend
sexually abused him during childhood. He explained that his friend
introduced him to pornography and touched his genitals. Bradley told
this examiner that he did not realize the behaviors were abusive until
recently. Delayed disclosures of childhood abuse or sexual experiences
are not unusual. Untreated, Bradley’s distressing memories and

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unresolved anger toward his friend could have contributed to his
childhood asocial behaviors leading up to his offense. No testimony
was offered about the impact on Bradley regarding his report of being
sexually abused.

Substance Use

Bradley reported early substance use, including using with his older
sister. Substance use may contribute to lowered inhibitions and poor
decision-making. Bradley’s actions, in his case, reflect poor behavioral
control and appraisal of consequences to himself and others. Substance
abuse problems can be treated and monitored. No expert opinions were
offered at sentencing about the role of substance use in Bradley’s
offending or his potential to benefit from substance use rehabilitation.

Family and Caregiver Implications

At the time of the offense, Bradley was just 15 years old. His parents
divorced when he was in elementary school, and he reported feeling
unsupported and unloved by them and other caregivers. He stated that
| his mother and older sister suffered from alcohol use problems, and his
| sister condoned and even supported his drinking at a young age. His
| mother was involved with abusive and criminally oriented men during
| his formative years. Bradley felt his father preferred his sisters and held
low opinions of Bradley. His family members’ problems and
inadequate coping skills to address parenting challenges Bradley
seemed to contribute to his frequent boundary testing via acting out at
home, school, and in the community. Bradley was removed from his
parent’s care due to their inability to appropriately supervise him and
placed in detention, where he was immersed with asocial youth and first
introduced to shock videos depicting violence. There was no testimony
from a mental health professional about the impact of Bradley’s
upbringing on his behavior leading to the offense or his capacity to
recover from perceived early traumas.

SHCR 84-86

Dr. Mauro concludes her report by describing how Trial Counsel’s failure to

obtain a formal risk assessment handicapped Petitioner at the punishment hearing:

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Risk Assessment

Bradley did not have a formal risk assessment completed at the time of
his sentencing hearing. In addition to concerns about general harm to
others, it is possible that concerns about future risk for violence and
sexual offending could have contributed to the sentence he received. I
believe that was a formal risk assessment conducted, Bradley’s defense
team could have offered testimony suggesting that his future risk for
violence and sexual recidivism was low.

Testimony presented at Bradley’s sentencing hearing was absent any
professional risk assessment. No actuarial or structured professional
judgment tools were used to support the opinions offered about his risk
to the community or reported “depravity.” I reviewed the PSI report,
and it contained no structured risk assessment. There are well-known
tools available to offer risk assessment for general criminal recidivism,
such as the Level of Service Inventory-Revised (LSI-R), and violence
risk assessment, such as the Historical Clinical Risk Management-20
Version 3 (HCR-20 V3).

While the most widely used actuarial tools for predicting sexual
recidivism, the Static 99-R and the Static 2002R, are not normed on
individuals like Bradley who do not have arrests or convictions as an
adult for sexual offending or have been accused or convicted of a child
pornography crime only, there is related research available. For
example, in a 2013 meta-analysis by Seto and colleagues using a
sample of mostly child pornography offenders (total sample size 2, 630
online offenders), followed for approximately 3.4 years, the total
recidivism rates were low compared to typical samples of sexual
offenders: Approximately 5% of the child pornography offenders were
arrested for a new sexual offense of any kind, 3.4% for a new child
pornography case, and 2.1% for a new contact sexual offense. Seto
reported that several online offender studies reviewed had no sexual
recidivists. The study concluded that most online-only sex offenders
are low-risk.

SHCR 87

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| Without Dr. Mauro’s forensic evaluation and expert opinion, the trial court
_ was left with a misperception that Petitioner was unredeemable due to the depravity

_ of the images seized in this case. 3 RR 64-65. The trial court then explained that

_ Trial Counsel’s evidence of mitigation was completely unpersuasive:

Starting at 15, and presenting that as a form of mitigation, carries no
weight with this court.

A five-year-old or seven-year-old child already has the basic sense of
morale decency [sic] that you, sir, do not have. There is something
horribly wrong with you. Horribly.

You possessed and promoted this material, not only for some perverse
form of self-gratification, but even more disturbing, for the
manipulation and control of others.

There is evidence of excessive pride, greed, wrath, envy, lust, glutony
[sic], and sloth, in this case.

3 RR 65

Dr. Mauro’s expert opinion would have provided convincing evidence of

_ mitigation that was not presented at the sentencing hearing due to Trial Counsel’s

deficient performance. By putting Petitioner’s crime into the perspective of a lonely,
abused teenager attempting to get attention, Dr. Mauro would have been able to
explain the offense conduct in a more sympathetic manner; she then would have
used an evidence-based risk assessment to show that Petitioner would be able to be

a functioning member of society through therapy and medication. This expert

_ testimony had a reasonable probability of persuading an open-minded judge that a

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probation sentence (or at least a reduced prison sentence followed by probation)

_ would have been appropriate given all of the scientific factors. As a result, there isa

reasonable probability of a different result if Trial Counsel had obtained the services
of an expert forensic psychologic to conduct a forensic evaluation and formal risk
assessment.

B. The state court adjudication was based on an unreasonable determination
of the facts in light of the evidence presented.

The trial court failed to make findings of fact when it denied Petitioner’s state

_ writ application on December 9, 2024, which was just three days after the State filed

its Answer/Reply. See SHCR 136. The trial court simply wrote in its.order: “after
considering the application of [Petitioner] and the response of the Special Prosecutor

filed on December 6, 2024,” it determined that the writ application “is without legal

or factual merit and should be denied without hearing.” /d. Thus, the State’s

rendition of the facts in its Answer/Reply was implicitly adopted by the trial court
in denying the state writ application. The state court’s denial of the writ hinged on
an unreasonable determination that Sarah Trevino (Petitioner’s therapist) was an
expert witness at the sentencing hearing, when she was actually a mere fact witness.

In the State’s Answer/Reply, the State argued that Petitioner’s claim should
be denied because he retained an expert, Sarah Trevino, to testify about her

impressions from her therapy sessions with Petitioner. SHCR 101. According to the

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State’s argument, which was adopted by the trial court, because Trevino was an

expert psychologist, Petitioner’s claim that his trial counsel failed to present expert

| testimony is without merit. SHCR 101.

The State’s argument, which lacked any citation to legal authority,
misconstrued Trevino’s role at the sentencing hearing. Trevino testified as a fact
witness, not an expert witness. Her testimony detailed her observations from her

therapy sessions with Petitioner, but she was never qualified as an expert witness. In

_ fact, Trevino testified that she was licensed as an LPCA (licensed professional

counselor associate) at the time of the hearing, meaning that she worked under the

supervision of another individual, and she had held this license for only 22 months

_ at the time of the hearing. 3 RR 50-51. Moreover, contrary to the State’s claim that

Trevino is a psychologist, her licensure demonstrates that she is a counselor, not a
psychologist.

If Trial Counsel had retained an expert in forensic psychology, he would have
discovered the root causes of Petitioner’s mental-health issues, which led to the
conduct that the trial court found to so abhorrent at sentencing. Moreover, a forensic
psychologist would have been able to opine about Petitioner’s chances of

rehabilitation in a manner that a relatively inexperienced counselor like Sarah

Trevino was unable to do.

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Dr. Marisa Mauro, whom Petitioner retained for the purposes of his state writ

application, explained that Trevino’s fact testimony regarding her therapy sessions

_ was limited in scope compared to the expertise of a qualified forensic psychologist:

While the sentencing hearing testimony from [Petitioner’s] community
supervision officer, Mr. Stidham, provided that [Petitioner’s] primary
motivation for possessing child pornography was to attract and
maintain group members, [Petitioner’s] only defense witness, his
therapist, Ms. Trevino, was not made aware of [Petitioner’s] specific
acts leading to his criminal case before the hearing. Ms. Trevino,
therefore, did not have the opportunity to assess his motivations for
committing the acts nor any contributing implications from
[Petitioner’s] past experiences or mental health. No psychologist or
psychiatrist testified at [Petitioner’s] sentencing hearing. No opinions
were offered regarding his capacity to benefit from treatments aimed at
reducing his depression, anxiety, and aggressive tendencies.

SHCR 85-86
Moreover, the trial court never made a determination that Trevino was an
expert witness pursuant to TEX. R. EviD. 702. See Kelly v. State, S.W.2d 568, 572-
73 (Tex. Crim. App. 1992) (holding that the trial court's task in assessing
admissibility under Rule 702 “is to determine whether the scientific evidence is

sufficiently reliable and relevant to help the jury in reaching accurate results.” To be

_ considered reliable, evidence based on a scientific theory must satisfy three criteria:

(1) the underlying scientific theory must be valid; (2) the technique applying the
theory must be valid; and (3) the technique must have been properly applied on the

occasion in question.)

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Here, Trevino was merely a lay witness testifying about her observations from
therapy sessions, and at most, she could offer an opinion based on her observations.
See TEX. R. EVID. 701. By Trevino’s own admission, she was not aware of any facts
about Petitioner or the case beyond what they discussed in their therapy sessions.
See 3 RR 58. Meanwhile, Dr. Mauro is an experienced forensic psychologist who
conducted a comprehensive review of the case and Petitioner’s background in order
to offer an expert opinion. Her detailed report demonstrates that Petitioner would
have had a compelling argument regarding his high likelihood of rehabilitation and
low probability of recidivism, which would have influenced the trial court’s decision
on punishment. See SHCR 74-87.

In sum, the state court made an unreasonable determination that Petitioner
already had retained an expert for sentencing, and this unreasonable determination
of the facts was the basis for the state court’s decision to deny Petitioner’s claim that
Trial Counsel was ineffective for failing to investigate and retain expert assistance.

C. The state court adjudication constitutes an unreasonable application of
clearly-established Supreme Court precedent.

In finding that Petitioner failed to satisfy the two-prong Strickland test for
ineffective assistance of counsel, the state court unreasonably applied clearly-
established Supreme Court precedent, as set forth in Strickland v. Washington, 466

U.S. 668 (1984) and Wiggins v. Smith, 539 U.S. 510, 527-28 (2003) (holding that

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there is no strategic decision with respect to defense counsel’s sentencing strategy
where counsel chooses to abandon their investigation at an unreasonable juncture).
In interpreting this precedent, the Fifth Circuit has held that “[i]n investigating
potential mitigating evidence, counsel must either (1) undertake a reasonable

investigation or (2) make an informed strategic decision that investigation is

_ unnecessary.” Charles v. Stephens, 736 F.3d 380, 389 (Sth Cir. 2013) (per curiam).

“(Under a Strickland analysis, trial counsel must not ignore pertinent avenues of

| investigation, or even a single, particularly promising investigation lead.” /d., at 390

(internal quotation marks and citations omitted).

Petitioner’s trial counsel failed to investigate and retain a forensic

| psychologist, which was vital expert assistance in his case. While Trial Counsel

stated in his affidavit that he believed that Petitioner’s counselor (Sarah Trevino)
would do an adequate job of understanding whether Petitioner “posed a present
danger to society,” Trial Counsel failed to explain why he did not retain expert
assistance in addition to this fact witness (Trevino) who had no training in forensic
psychology. See SHCR 120. While Dr. Mauro could opine about the causes of
Petitioner’s criminal behavior based on her education, experience, and her

examination of Petitioner’s entire life history, Ms. Trevino was not equipped to

provide such expert testimony.

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record reflects, however, that the required investigation never occurred. Trial

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Petitioner was entitled to an advocate who would investigate the law and facts

relating to his case. Bouchillon v. Collins, 907 F. 2d 589, 597 (Sth Cir. 1990). The

| Counsel failed to conduct a reasonable investigation regarding the need for expert

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assistance, which constitutes deficient performance. Furthermore, because Trial
Counsel failed to investigate the law and facts, his actions cannot be attributed to a
reasonable trial strategy. See id. (“Tactical decisions must be made in the context of
a reasonable amount of investigation, not in a vacuum.”).

Because fair-minded jurists could not disagree that the state court

_ unreasonably applied clearly established federal law, as determined by the Supreme

Court, this Court should grant relief in the form of a new sentencing trial. See

Harrington v. Richter, 131 S. Ct. 770, 786 (2011).

PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Petitioner prays that this Court
grant his Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. §2254, reverse

the judgment of conviction, and remand the case to the trial court for a new

sentencing hearing.

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Respectfully submitted,

/s/ Christopher M. Perri

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